         Case 3:18-cv-01023-MPS Document 23 Filed 07/31/18 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 NOVAFUND ADVISORS, LLC,

                        Plaintiff,                   Civil Action No. 3:18-cv-01023-MPS

 v.

 CAPITALA GROUP, LLC,                                July 31, 2018

                        Defendant.


                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant, Capitala Group,

LLC by its attorneys, Robinson & Cole LLP, states that it does not have any parent corporation

and that there is no publicly held corporation that owns 10% or more of Capitala Group, LLC’s

membership interests. Capitala Finance Corp. (Nasdaq: CPTA) is an affiliate of Capitala Group,

LLC and is a publicly traded entity.


                                            Respectfully Submitted,

                                            CAPITALA GROUP, LLC

                                            By: /s/ Frank F. Coulom, Jr.
                                                    Frank F. Coulom, Jr. (ct05230)
                                                    Robinson & Cole LLP
                                                    280 Trumbull Street
                                                    Hartford, CT 06103
                                                    Tel: (860) 275-8200
                                                    Fax: (860) 275-8299
                                                    Email: fcoulom@rc.com
